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                             Nebraska Court of Appeals Advance Sheets
                                  33 Nebraska Appellate Reports
                                                 STATE V. FLODMAN
                                                Cite as 33 Neb. App. 504



                                        State of Nebraska, appellee, v.
                                          Todd Flodman, appellant.
                                                     ___ N.W.3d ___

                                           Filed April 1, 2025.     No. A-24-279.

                 1. Criminal Law: Courts: Appeal and Error. In an appeal of a criminal
                    case from the county court, the district court acts as an intermediate
                    court of appeals, and its review is limited to an examination of the
                    record for error or abuse of discretion.
                 2. Courts: Appeal and Error. Both the district court and a higher appel-
                    late court generally review appeals from the county court for error
                    appearing on the record.
                 3. Judgments: Appeal and Error. When reviewing a judgment for errors
                    appearing on the record, an appellate court’s inquiry is whether the deci-
                    sion conforms to the law, is supported by competent evidence, and is
                    neither arbitrary, capricious, nor unreasonable.
                 4. Appeal and Error. An appellate court independently reviews questions
                    of law in appeals from the county court.
                 5. Criminal Law: Courts: Appeal and Error. When deciding appeals
                    from criminal convictions in county court, an appellate court applies the
                    same standards of review that it applies to decide appeals from criminal
                    convictions in district court.
                 6. Constitutional Law: Search and Seizure: Motions to Suppress:
                    Appeal and Error. In reviewing a trial court’s ruling on a motion to
                    suppress based on a claimed violation of the Fourth Amendment, an
                    appellate court applies a two-part standard of review. Regarding histori-
                    cal facts, an appellate court reviews the trial court’s findings for clear
                    error, but whether those facts trigger or violate Fourth Amendment
                    protections is a question of law that an appellate court reviews indepen-
                    dently of the trial court’s determination. And where the facts are largely
                    undisputed, the ultimate question is an issue of law.
                 7. Constitutional Law: Search and Seizure. Both the Fourth Amendment
                    to the U.S. Constitution and article I, § 7, of the Nebraska Constitution
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           Nebraska Court of Appeals Advance Sheets
                33 Nebraska Appellate Reports
                             STATE V. FLODMAN
                            Cite as 33 Neb. App. 504
      guarantee the right of the people to be secure in their persons, houses,
      papers, and effects against unreasonable searches and seizures.
 8.   Constitutional Law: Search and Seizure: Investigative Stops: Motor
      Vehicles. A traffic stop is a seizure for Fourth Amendment purposes, and
      therefore is accorded Fourth Amendment protections.
 9.   Investigative Stops: Motor Vehicles: Police Officers and Sheriffs:
      Probable Cause. As a general matter, the decision to stop an automo-
      bile is reasonable where the police have probable cause to believe that a
      traffic violation has occurred. A traffic violation, no matter how minor,
      creates probable cause to stop the driver of a vehicle.
10.   Constitutional Law: Investigative Stops: Motor Vehicles: Police
      Officers and Sheriffs: Probable Cause. Probable cause is not the only
      standard applied by courts to determine whether a traffic stop is reason-
      able under the Fourth Amendment. The Fourth Amendment also permits
      brief investigative stops of vehicles based on reasonable suspicion when
      a law enforcement officer has a particularized and objective basis for
      suspecting the particular person stopped of criminal activity.
11.   Constitutional Law: Investigative Stops: Police Officers and
      Sheriffs: Probable Cause. Police can constitutionally stop and briefly
      detain a person for investigative purposes if the police have a reasonable
      suspicion, supported by articulable facts, that criminal activity exists,
      even if probable cause is lacking under the Fourth Amendment.
12.   Police Officers and Sheriffs: Investigative Stops: Probable Cause:
      Words and Phrases. Reasonable suspicion entails some minimal level
      of objective justification for detention, something more than an incho-
      ate and unparticularized suspicion or hunch, but less than the level of
      suspicion required for probable cause. In determining whether there is
      reasonable suspicion for an officer to make an investigatory stop, the
      totality of the circumstances must be taken into account.
13.   Criminal Law: Eyewitnesses: Search and Seizure. A citizen inform­
      ant is a citizen who purports to have been the witness to a crime
      who is motivated by good citizenship and acts openly in aid of law
      enforcement.
14.   Criminal Law: Eyewitnesses. Unlike the police tipster who acts for
      money, leniency, or some other selfish purpose, the citizen informant’s
      only motive is to help law officers in the suppression of crime. Unlike
      the professional informant, the citizen informant is without motive to
      exaggerate, falsify, or distort the facts to serve his or her own ends.
15.   Criminal Law: Eyewitnesses: Presumptions. A citizen informant who
      has personally observed the commission of a crime is presumptively
      reliable.
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          Nebraska Court of Appeals Advance Sheets
               33 Nebraska Appellate Reports
                            STATE V. FLODMAN
                           Cite as 33 Neb. App. 504
16. Police Officers and Sheriffs: Investigative Stops: Eyewitnesses:
    Probable Cause. In determining whether an investigatory stop is rea-
    sonable, the courts have balanced several factors, including the reliabil-
    ity and credibility of the informant, the description of the vehicle, the
    officer’s observations of traffic violations, and the timelag between the
    report of criminal activity and the stop.

  Appeal from the District Court for Otoe County, Julie D.
Smith, Judge, on appeal thereto from the County Court for
Otoe County, David J. Partsch, Judge. Judgment of District
Court affirmed.
   Gerald L. Soucie for appellant.
 Michael T. Hilgers, Attorney General, and Jacob M.
Waggoner for appellee.
   Moore, Bishop, and Welch, Judges.
   Moore, Judge.
                       INTRODUCTION
   Todd Flodman was convicted in the county court for Otoe
County of driving under the influence (DUI), first offense. His
conviction was affirmed on appeal to the district court. On
appeal to this court, Flodman challenges the district court’s
affirmance of the county court’s denial of his motion to sup-
press. For the following reasons, we affirm.
                  STATEMENT OF FACTS
   On September 22, 2022, the State filed a complaint in
the county court, charging Flodman with DUI, first offense,
in violation of Neb. Rev. Stat. § 60-6,196 (Reissue 2021),
a Class W misdemeanor. See Neb. Rev. Stat. § 60-6,197.03
(Reissue 2021).
   Flodman filed a motion to suppress, seeking to exclude all
evidence obtained by law enforcement resulting from a traf-
fic stop of his vehicle and his subsequent arrest. Flodman’s
motion was heard by the county court on December 7, 2022.
The State presented testimony from the deputy who conducted
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
the stop of Flodman’s vehicle. The State also offered an exhibit
containing the deputy’s dashboard and body camera footage of
his stop and subsequent arrest of Flodman, which exhibit was
received by the court.
   Dylan Lazure, a deputy with the Otoe County sheriff’s
office, was on duty on August 28, 2022. While on routine
patrol that evening, he drove into the parking lot of a particu-
lar golf course. As Lazure was driving south along the street
“outside of the parking lot,” he noticed “a dark Ford F-150”
pickup traveling past him in the opposite direction. Other
than the pickup that passed Lazure, he did not see any other
vehicles in the area as he continued into the parking lot. Once
Lazure arrived in the parking lot, he was “waved down by a
bystander” wearing a white shirt, who advised him that “the
pickup that had just left the parking lot” had “backed into a
white SUV and left and didn’t leave any information.” The
bystander in the white shirt reported that he heard the acci-
dent; that individual had also been told about the accident
by another bystander who saw the accident. Initially, Lazure
spoke only with the individual wearing the white shirt. Rather
than conducting a further investigation in the parking lot at
that point, Lazure turned around and left on the same street
by which he had entered, hoping to “catch that vehicle” so he
could then investigate further.
   After leaving the golf course parking lot, Lazure drove
north until he reached a T-intersection, where he observed
“the pickup” traveling west. Lazure turned to follow. Because
there was another vehicle behind the pickup, Lazure got
behind it and activated the overhead lights on his vehicle.
Once that vehicle “moved over,” Lazure pulled in behind the
pickup. The video from Lazure’s dashboard camera shows
that the pickup is a dark color. While following the pickup,
Lazure did not observe any “law infractions” or “issues with
[the driver’s] driving behavior.” Lazure activated his vehicle’s
siren, and the pickup “came to a slow roll and stopped” on an
adjoining street.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
   Once the pickup stopped, Lazure exited his vehicle and
approached the pickup. As he approached, Lazure noticed
damage on the pickup’s rear bumper consistent with strik-
ing the white sport utility vehicle (SUV). Lazure made con-
tact with the pickup’s driver and identified him as Flodman.
Lazure noticed that Flodman “had bloodshot, watery eyes,”
and Lazure could smell “the odor of alcohol” coming from the
pickup. Flodman admitted that he had been drinking. Flodman,
who lived near the location of the stop (and the golf course),
called his wife and also agreed to return to the parking lot to
“get this figured out.” After Flodman’s wife arrived, Lazure
escorted Flodman to Lazure’s vehicle, and they returned to
the parking lot. Flodman’s wife returned to the parking lot
separately, where she exchanged information with the owner
of the white SUV.
   Back in the parking lot, Flodman declined to undergo field
sobriety tests, but he did agree to undergo a preliminary breath
test. Flodman failed the preliminary breath test, and Lazure
then arrested him for DUI. Lazure subsequently transported
Flodman to jail, where a formal breath test was administered.
The bystander in the white shirt who heard the accident and
the bystander who saw the accident were still in the parking
lot, and before transporting Flodman to jail, Lazure spoke
to the two bystanders and obtained their names and contact
information. The second bystander confirmed that he did see
the accident.
   On January 27, 2023, the county court entered an order
overruling Flodman’s motion to suppress. The county court
found, based on the facts and circumstances of the case, that
when Lazure stopped Flodman’s pickup, he “had reasonable
cause to believe that Flodman had committed the misdemeanor
of Leaving the Scene of Property Damage Accident.” The
county court found that Lazure “had [a] legitimate concern”
that if there was a hit and run, the individual leaving the
scene would not be apprehended unless Lazure was able to
do so “immediately.” The county court also found that Lazure
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
had reason to believe the individual leaving the scene “might
cause further damage to property or injury to himself or others
unless immediately stopped” and that if the individual left the
scene because he was under the influence of drugs or alcohol,
“evidence of that fact may be lost (dissipated) if the perpe-
trator was not immediately apprehended for investigation.”
Finally, the county court concluded that Lazure “had knowl-
edge, based on information reasonably trustworthy under the
circumstances, which justified a prudent belief that the sus-
pect was committing or had committed a crime” and Lazure
therefore “had probable cause to seize the suspect without a
warrant so that further investigation could occur.” The court
concluded that Lazure did not violate Flodman’s constitutional
rights and overruled Flodman’s motion to suppress.
   Following the county court’s denial of Flodman’s motion to
suppress, the parties proceeded to a bench trial on stipulated
facts. The county court re-received the video footage from
Lazure’s dashboard and body cameras, and it also received
into evidence copies of the bill of exceptions from the sup-
pression hearing and the DataMaster checklist for the formal
breath test. Flodman’s attorney renewed his objections based
on the motion to suppress, which were again overruled by the
court. The formal breath test results showed that Flodman had
“.146 of a gram of alcohol per 210 liters of breath.” The court
found Flodman guilty beyond a reasonable doubt of DUI,
first offense, and it sentenced him to 9 months’ probation and
revoked his driver’s license for 60 days.
   Flodman appealed to the district court and filed a timely
statement of errors, raising the issue of the county court’s
denial of his motion to suppress, as well as a claim of ineffec-
tive assistance of trial counsel not relevant here. On March 4,
2024, the district court heard arguments from the parties, and
in a subsequent written order, the district court affirmed the
judgment of the county court. We have set forth further details
of the district court’s analysis below.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
                 ASSIGNMENT OF ERROR
   Flodman assigns that the district court erred in affirming the
county court’s determination that the stop of his vehicle was
not in violation of the 4th and 14th Amendments to the U.S.
Constitution and the decision in Terry v. Ohio, 392 U.S. 1, 88
S. Ct. 1868, 20 L. Ed. 2d 889 (1968), and its progeny.
                   STANDARD OF REVIEW
   [1-5] In an appeal of a criminal case from the county court,
the district court acts as an intermediate court of appeals,
and its review is limited to an examination of the record for
error or abuse of discretion. State v. Kalita, 317 Neb. 906, 12
N.W.3d 499 (2024). Both the district court and a higher appel-
late court generally review appeals from the county court for
error appearing on the record. State v. Rieker, 318 Neb. 238,
14 N.W.3d 855 (2025). When reviewing a judgment for errors
appearing on the record, an appellate court’s inquiry is whether
the decision conforms to the law, is supported by competent
evidence, and is neither arbitrary, capricious, nor unreason-
able. Id. An appellate court independently reviews questions of
law in appeals from the county court. State v. Temme, 32 Neb.
App. 397, 997 N.W.2d 814 (2023). When deciding appeals
from criminal convictions in county court, an appellate court
applies the same standards of review that it applies to decide
appeals from criminal convictions in district court. State v.
Kalita, supra.   [6] In reviewing a trial court’s ruling on a motion to sup-
press based on a claimed violation of the Fourth Amendment,
an appellate court applies a two-part standard of review. State
v. Falcon, ante p. 331, 16 N.W.3d 393 (2025). Regarding
historical facts, an appellate court reviews the trial court’s
findings for clear error, but whether those facts trigger or vio-
late Fourth Amendment protections is a question of law that
an appellate court reviews independently of the trial court’s
determination. State v. Falcon, supra. And where the facts are
largely undisputed, the ultimate question is an issue of law.
State v. Langley, ante p. 297, 15 N.W.3d 722 (2024).
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. FLODMAN
                       Cite as 33 Neb. App. 504
                           ANALYSIS
   Flodman assigns that the district court erred in affirming
the county court’s determination that the stop of his pickup
was not in violation of the 4th and 14th Amendments to the
U.S. Constitution and the decision in Terry v. Ohio, supra.Flodman only challenges Lazure’s stop of his pickup as being
in violation of the Fourth Amendment, and he argues that the
report from the bystander who heard the accident to Lazure
did not give rise to a reasonable suspicion that a crime had
been committed.
   [7,8] Both the Fourth Amendment to the U.S. Constitution
and article I, § 7, of the Nebraska Constitution guarantee
the right of the people to be secure in their persons, houses,
papers, and effects against unreasonable searches and seizures.
State v. Barbeau, 301 Neb. 293, 917 N.W.2d 913 (2018). A
traffic stop is a seizure for Fourth Amendment purposes, and
therefore is accorded Fourth Amendment protections. State v.
Barbeau, supra.   [9] As a general matter, the decision to stop an automobile
is reasonable where the police have probable cause to believe
that a traffic violation has occurred. Id. A traffic violation, no
matter how minor, creates probable cause to stop the driver
of a vehicle. Id. Here, the parties agree that Lazure did not
observe any traffic violations before stopping Flodman.
   [10] However, probable cause is not the only standard
applied by courts to determine whether a traffic stop is
reasonable under the Fourth Amendment. State v. Barbeau,
supra. The Fourth Amendment also permits brief investiga-
tive stops of vehicles based on reasonable suspicion when a
law enforcement officer has a particularized and objective
basis for suspecting the particular person stopped of criminal
activity. State v. Barbeau, supra. Reasonable suspicion, like
probable cause, depends upon both the content of information
possessed by police and its degree of reliability. See id.   [11,12] Police can constitutionally stop and briefly detain
a person for investigative purposes if the police have a
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
reasonable suspicion, supported by articulable facts, that crim-
inal activity exists, even if probable cause is lacking under
the Fourth Amendment. State v. Barbeau, supra. Reasonable
suspicion entails some minimal level of objective justifica-
tion for detention, something more than an inchoate and
unparticularized suspicion or hunch, but less than the level
of suspicion required for probable cause. Id. In determining
whether there is reasonable suspicion for an officer to make
an investigatory stop, the totality of the circumstances must be
taken into account. State v. Garcia, 302 Neb. 406, 923 N.W.2d
725 (2019).
   The question of reasonable suspicion here turns on whether,
considering the totality of the circumstances, Lazure had reli-
able information that provided a particularized and objective
basis for suspecting Flodman had unlawfully left the scene
of a property damage accident. Both the county court and the
district court found that when Lazure stopped the pickup, he
had a reasonable suspicion that the driver of the pickup had
violated Neb. Rev. Stat. § 60-696 (Reissue 2021) (leaving
scene of property damage accident). Lazure does not dispute
that he backed his pickup into the white SUV and left the
golf course without leaving a note containing the statutorily
required information. His arguments on appeal to this court
focus on the reliability of the information that prompted
Lazure to leave the parking lot and pursue the pickup pointed
out to him by the bystander in the white shirt. Both the county
court and the district court treated this bystander as a citizen
informant, whose report to Lazure was presumptively reli-
able. Flodman argues that the bystander in the white shirt was
not a citizen informant because the bystander heard, rather
than saw, the accident and because another bystander told the
bystander in the white shirt what had happened. Flodman also
argues that the bystander in the white shirt should be consid-
ered an anonymous informant because Lazure did not collect
the names and contact information of either bystander before
leaving the parking lot in pursuit of the pickup.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. FLODMAN
                       Cite as 33 Neb. App. 504
   [13-15] A citizen informant is a citizen who purports to
have been the witness to a crime who is motivated by good
citizenship and acts openly in aid of law enforcement. State
v. Wollam, 280 Neb. 43, 783 N.W.2d 612 (2010). Unlike the
police tipster who acts for money, leniency, or some other
selfish purpose, the citizen informant’s only motive is to help
law officers in the suppression of crime. State v. Lammers,
267 Neb. 679, 676 N.W.2d 716 (2004). Unlike the profes-
sional informant, the citizen informant is without motive to
exaggerate, falsify, or distort the facts to serve his or her own
ends. Id. A citizen informant who has personally observed
the commission of a crime is presumptively reliable. State
v. McCave, 282 Neb. 500, 805 N.W.2d 290 (2011); State v.
Bowley, 232 Neb. 771, 442 N.W.2d 215 (1989).
   [16] In determining whether an investigatory stop is reason-
able, the courts have balanced several factors, including the
reliability and credibility of the informant, the description of
the vehicle, the officer’s observations of traffic violations, and
the timelag between the report of criminal activity and the stop.
State v. Bowley, supra. The Nebraska Supreme Court stated:
      “The reliability of the informant varies from an anony-
      mous telephone tipster to a known citizen’s face-to-face
      meeting with police officers. The vehicle description var-
      ies from minimal to very detailed. The reported location
      of the vehicle varies from pinpoint accuracy to a general
      direction of travel. The observation of traffic violations
      ranges from none to several. The shorter the time lag, the
      more likely the stop is valid.”
State v. Ege, 227 Neb. 824, 827, 420 N.W.2d 305, 308 (1988),
quoting State v. Warren, 404 N.W.2d 895 (Minn. App. 1987).
   In our consideration of whether Lazure’s stop of Flodman
was reasonable, we first set out the county court’s and dis-
trict court’s analyses of Flodman’s arguments and then make
certain observations about the record before applying the fac-
tors of the above-referenced balancing test. The county court
found that Lazure made a lawful stop of Flodman’s pickup
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. FLODMAN
                       Cite as 33 Neb. App. 504
and conducted a lawful investigation based upon a tip from a
citizen. In reaching that conclusion, the county court observed,
“The informant in our case witnessed a crime; openly reported
it to a sheriff’s deputy without seeking money, leniency, or
advancing any other apparently selfish purpose; and had no
apparent motive to exaggerate, falsify, or distort the facts.” The
county court also noted Lazure’s observation of the pickup that
was leaving the parking lot as he entered it, and it found that
Lazure “acted immediately with haste and urgency to ensure
that the suspect could be interviewed promptly.”
    In its review of the county court’s decision, the district
court rejected Flodman’s assertion that the bystander in the
white shirt was not a citizen informant because he only heard
and did not see the pickup hit the SUV. The court reasoned
that the bystander “had firsthand-knowledge of the fact that
the collision had occurred by means of his senses—he heard
it.” In finding that the bystander was a citizen informant, the
court stated:
          In the video, it is apparent that there were no other
      vehicles near the SUV. The collision had just happened.
      (The [pickup] was pulling out of the parking lot simulta-
      neously with Lazure entering the parking lot, immediately
      prior to the man in the white shirt flagging him down).
      Surely, under those circumstances, the man in the white
      shirt would have turned his head toward the noise and
      concluded that the source of the noise was a collision
      between the [pickup] and the SUV.
    The district court rejected Flodman’s argument that “because
the citizen informant was anonymous, his statements must be
corroborated.” The court again noted that the bystander in the
white shirt had personally observed the collision “by means
of his senses,” that he had personally observed the pickup fail
to stop at the scene, and that his statements to Lazure were
corroborated by Lazure’s observation of damage to Flodman’s
pickup at the time of the stop. The court concluded that the
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
bystander in the white shirt was a citizen informant whose
statements were presumptively reliable.
   The district court also rejected Flodman’s arguments that
Lazure should have conducted further investigation in the
parking lot prior to attempting to stop the pickup and should
have investigated the three pickups parked in driveways along
the street outside of the parking lot. The court noted Lazure’s
testimony that the pickup he stopped was the same one he
saw leaving the parking lot as he entered it. Under the cir-
cumstances in this case, the court found that taking a lengthy
statement from the bystander or investigating each pickup
parked along the street would have “significantly decreased
or eliminated” Lazure’s odds of catching up to the suspect’s
vehicle. The court observed that if there had been no damage
to the SUV or if the suspect had left a note, there would not
have been probable cause to believe the suspect had violated
§ 60-696. However, the court noted that a police officer may,
in appropriate circumstances and in an appropriate manner,
approach a person for purposes of investigating possibly crimi-
nal behavior, even though there is no probable cause to make
an arrest. See State v. Cox, 3 Neb. App. 80, 523 N.W.2d 52(1994). The court concluded that even though Lazure may not
have had enough information at the time he stopped Flodman
to establish probable cause for a violation of § 60-696, he
had “ample reasonable suspicion” to stop Flodman’s pickup
based on the bystander’s report and Lazure’s own observations
upon entering and exiting the parking lot and upon stopping
the pickup.
   The district court’s observations are consistent with our
own review of the record. Lazure testified that he is “a truck
guy” and “check[s] out trucks,” which prompted him to notice
“a dark Ford F-150” pass him as he was driving into the park-
ing lot. He testified that upon entering the parking lot, he was
stopped by a bystander wearing a white shirt who told him
he had just heard a collision and the pickup that had just left
had struck the white SUV. Lazure’s dashboard camera video
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. FLODMAN
                       Cite as 33 Neb. App. 504
does not show his encounter with the bystander in the white
shirt, but the SUV is visible as Lazure turns around to leave.
It is not possible, given the quality of the video, to see any
damage on the SUV, but there are clearly no other vehicles
parked next to it. There are various vehicles parked in drive-
ways along the street before Lazure reaches the T-intersection.
It is not possible to distinguish the color of the first parked
pickup, but the second and third pickups are clearly light col-
ored. And, the video clearly shows that Flodman’s pickup is a
dark color. Neither the dashboard nor the body camera video
is of sufficient quality to distinguish the damage to Flodman’s
pickup testified to by Lazure.
   We next turn our attention to the first factor of the balancing
test. On appeal to this court, Flodman makes several arguments
concerning the reliability and credibility of the bystander in the
white shirt and argues that this bystander was not, in fact, a
citizen informant. As noted above, a citizen informant is a citi-
zen who purports to have witnessed a crime, is motivated by
good citizenship, and openly aids law enforcement. See State
v. Wollam, 280 Neb. 43, 783 N.W.2d 612 (2010). Flodman
argues that the bystander in the white shirt was not a witness
to a crime because he only heard and did not see the collision.
We reject that argument.
   A dictionary definition of “witness” includes “one who,
being present, personally sees or perceives a thing.” Webster’s
Encyclopedic Unabridged Dictionary of the English Language
1640 (1989). The definition of “perceive” includes “to become
aware of, know, or identify by means of the senses.” Id. at
1069. And, the definition of “observe” includes “to see, watch,
perceive, or notice.” Id. at 995. See, also, State v. Scheffert,
279 Neb. 479, 778 N.W.2d 733 (2010) (defining “observe,”
for purposes of rule regarding observation prior to giving
preliminary breath test, as requiring officer to be in posi-
tion to detect, through use of one or more senses, conduct or
event that could contaminate breath sample); NJI2d Crim. 5.0
(defining “direct evidence” as either physical evidence of fact
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             33 Nebraska Appellate Reports
                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
or testimony by someone who has firsthand knowledge of fact
by means of his or her senses).
   Here, the bystander in the white shirt was present in the
parking lot and perceived through his senses that an accident
had occurred. He also saw the driver’s failure to stop and
leave information. The bystander in the white shirt had per-
sonal knowledge regarding the collision. See Neb. Rev. Stat.
§ 27-602 (Reissue 2016) (witness may testify to factual mat-
ters based upon their personal knowledge). The bystander in
the white shirt reported to Lazure that the accident had just
occurred, and this bystander pointed to the pickup that had
just left the parking lot as the vehicle involved in the colli-
sion, which pickup Lazure had observed leaving the parking
lot just seconds before. Lazure immediately left the parking
lot to locate the pickup for further investigation. Under these
circumstances, it was reasonable for Lazure to attempt to stop
the pickup before investigating further in the parking lot. As
noted by the district court, Lazure did not need probable cause
to make an investigatory stop of the pickup.
   In our consideration of the first factor of the balancing
test, we also reject Flodman’s argument that the report of the
bystander in the white shirt was unreliable because Lazure
did not establish the bystander’s identity or the identity of
the other bystander who saw the accident until after stop-
ping Flodman and returning to the parking lot. The Nebraska
Supreme Court rejected a similar argument in State v. Bowley,
232 Neb. 771, 442 N.W.2d 215 (1989). In that case, a police
officer was flagged down by two individuals on a motorcycle
who observed the defendant’s erratic driving. While speaking
with the officer, the individuals identified the suspect vehicle
as it passed by. The officer then followed the vehicle and
observed it weaving in and out of traffic without signaling.
Based upon the report from the bystanders on the motorcycle
and the officer’s own observations, he stopped the vehicle
to determine the driver’s condition. A relatively short time
passed between the officer’s contact with the bystanders and
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                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
his stop of the suspect vehicle. The bystanders remained and
identified themselves to police after the stop. The Nebraska
Supreme Court concluded that the bystanders were citizen
informants and that their report, together with the officer’s
own observations, provided reasonable suspicion for an inves-
tigatory stop.
   Similarly, in the present case, the bystander in the white
shirt flagged Lazure down in person, making a face-to-face
report based on his having heard the accident and having seen
the pickup leave without stopping. Although the bystander did
not identify himself by name in this initial encounter, we do
not think this is a significant bar to finding him reliable given
the Nebraska Supreme Court’s analysis in State v. Bowley,
supra. Both that bystander and the bystander who saw the
accident remained in the parking lot until the conclusion of
Lazure’s DUI investigation, at which time they both provided
their names and contact information to Lazure. We conclude
that the first factor strongly supports a finding that Lazure’s
stop of Flodman was reasonable. The county court did not err
in treating the bystander in the white shirt as a citizen inform­
ant whose report to Lazure was presumptively reliable and the
district court did not err in affirming that determination.
   The second factor of the balancing test concerns the descrip-
tion of the vehicle, which can vary from minimal to very
detailed. Here, the “description” consists of Lazure’s own
observations, combined with information provided directly
by the bystander in the white shirt. The record shows that
Lazure took notice of the make, model, and dark color of the
pickup that passed him when he entered the parking lot. He
was informed by the bystander in the white shirt that he had
just heard a collision, that another bystander had seen the col-
lision, and that the driver of the pickup that just left had not
stopped and left his information. Lazure left the parking lot,
and shortly thereafter, he located and stopped a pickup, which
he observed was the same one he saw leaving the parking lot
as he entered it.
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                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
   Lazure’s dashboard camera video shows that after leaving
the parking lot and prior to reaching the T-intersection, he
passed by three pickups parked in driveways along the street
outside of the parking lot. It also shows that Flodman’s pickup
was a dark color. On appeal to this court, as he did on appeal
to the district court, Flodman argues that Lazure should have
investigated the parked pickups he passed prior to reaching the
T-intersection. However, two of those parked pickups did not
match Lazure’s own observations of the pickup that passed
him as he entered the parking lot. And, we agree with the
district court that investigation of the third pickup, any of the
other parked vehicles, or any vehicles parked in the various
garages along the way, would have precluded the possibility of
catching up to the suspect’s pickup if it had continued beyond
the T-intersection. Finally, the report of the bystander in the
white shirt was corroborated when Lazure stopped Flodman
and observed damage on his pickup consistent with having
struck the SUV. Based on the bystander’s in-person report
and Lazure’s own observations, we conclude the second fac-
tor strongly supports a finding that Lazure’s stop of Flodman
was reasonable.
   The third factor of the balancing test is the observation
of traffic violations, which can range from none to several.
Here, Lazure observed no traffic violations prior to stopping
Flodman. As he did on appeal to the district court, Flodman
relies on cases where no traffic violations were observed.
Specifically, he relies on State v. Colgrove, 198 Neb. 319,
253 N.W.2d 20 (1977), and State v. Ryland, 241 Neb. 74, 486
N.W.2d 210 (1992), disapproved, State v. Woldt, 293 Neb.
265, 876 N.W.2d 891 (2016). The district court found those
cases distinguishable from the present case, and it also noted
the Nebraska Supreme Court’s disapproval of Ryland “[t]o
the extent that [it] holds that an information gathering stop
requires reasonable suspicion or probable cause.” See State v.
Woldt, supra, 293 Neb. at 276, 876 N.W.2d at 899.
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             33 Nebraska Appellate Reports
                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
    In State v. Colgrove, supra, police stopped a car to serve
warrants, but upon stopping the car, they realized that the
individuals they were seeking were not in it. The officers
did not observe any traffic violations prior to stopping the
car, and the occupants had not done anything to arouse the
officers’ suspicions. One of the officers proceeded to check
the occupants’ identities and detected the odor of marijuana.
Subsequent searches of the car and its occupants revealed a
gun, a small amount of marijuana, and some other parapherna-
lia. The Nebraska Supreme Court concluded that the investiga-
tory stop was unreasonable where the undisputed facts showed
that the officers did not have any basis to conclude that the
occupants of the car were committing, were about to commit,
or had committed any crime, and it found that the defendant’s
motion to suppress should have been granted.
    In State v. Ryland, supra, a deputy wanted to obtain a state-
ment from the defendant about an accident the defendant had
witnessed the week before. The deputy had been unsuccessful
in contacting the defendant by phone. The deputy observed
someone resembling the defendant get into a car, verified the
car was registered to the defendant, and proceeded to follow
it. The deputy did not observe any traffic violations before
stopping the car. The stop led to the defendant’s arrest for
DUI. On appeal, the Nebraska Supreme Court found that
because the deputy had no probable cause to stop the defend­
ant and no reasonable suspicion of the existence of criminal
activity, the trial court should have sustained the defendant’s
motion to suppress.
    We agree that the present case is distinguishable from
Colgrove and Ryland. Here, Lazure was advised by a citi-
zen informant that the driver of the pickup Lazure had just
observed leaving the parking lot had backed into the white
SUV shortly prior to Lazure’s arrival and had departed with-
out leaving a note. Although Lazure did not observe any traf-
fic violations before stopping Flodman, he believed that the
pickup was the same one that had passed him on his way into
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                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
the parking lot, and upon approaching the stopped pickup,
he observed damage on its bumper consistent with it having
struck the SUV. Given the strength of the evidence in sup-
port of the first two factors and of the fourth factor, discussed
below, we do not find the lack of evidence in support of the
third factor of the balancing test to be dispositive.
   The fourth and final factor of the balancing test is the
timelag between the report of the criminal activity and the
stop; a shorter timelag increases the likelihood that the stop is
valid. See State v. Ege, 227 Neb. 824, 420 N.W.2d 305 (1988).
Here, Lazure observed a pickup leaving the parking lot as he
entered it. The bystander informed Lazure that the pickup that
had just left was the one that had backed into the white SUV.
Lazure turned his vehicle around, left the parking lot, and
located and stopped a pickup that he identified as being the
one he had observed leaving the parking lot as he entered it.
A review of Lazure’s dashboard camera video shows that less
than 1 minute 20 seconds elapsed between when he turned
his vehicle around, located and pulled in behind the pickup
he had observed, and both vehicles came to a stop on an
adjoining street. The evidence in support of the fourth factor
is strong.
   Balancing the four factors set forth in State v. Bowley, 232
Neb. 771, 442 N.W.2d 215 (1989) (reliability and credibility
of informant, description of vehicle, officer’s observations of
traffic violations, and timelag between report of criminal activ-
ity and stop), we conclude that Lazure’s investigatory stop of
Flodman was reasonable. Considering the totality of the cir-
cumstances, we determine Lazure had reliable information that
provided a particularized and objective basis for suspecting
Flodman had unlawfully left the scene of a property damage
accident. Because the investigatory stop of Flodman’s pickup
was supported by reasonable suspicion, the county court did
not err in denying Flodman’s motion to suppress, and the dis-
trict court did not err in affirming the county court’s decision.
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                       STATE V. FLODMAN
                      Cite as 33 Neb. App. 504
                          CONCLUSION
   Upon our review, we affirm the district court’s decision that
affirmed the county court’s decision to deny Flodman’s motion
to suppress and to find Flodman guilty of driving under the
influence, first offense.
                                                    Affirmed.
